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                     Exhibit C
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To:
EDAG Engineering GmbH
Att. Mr. Cosimo De Carlo
Kreuzberger Ring 40
65205 Wiesbaden
Germany

Via Email to: cosimo.de.carlo@edag.com
                                                                      Santa Clara, August 26, 2019

Payment Plan Confirmation

Dear Mr. De Carlo,

Thank you for taking the time to discuss our payment plan and investment status with me today.
Below is a record of what we discussed:

   1.) Byton and FAW have signed C-round SPA (share purchasing agreement) today. FAW's
       new investment in Byton is 150M USD.

   2.) Byton is also in advanced stage of finalizing agreements with other C-round investors,
       including Jiangsu provincial government, Nanjing city government, and some other co-
       investors. We will close C-round for more than 400M USD in total.

   3.) The money will hit Byton account in the second half of September.


I also look forward to meeting you at the IAA in Frankfurt and staying in close contact on these
matters.


Best regards


__________________________
Dr. Daniel Kirchert
Chief Executive Officer, Byton
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 1
                                       PROOF OF SERVICE
 2
            I, the undersigned, am employed in the City and County of San Francisco, State of
 3   California. I am over the age of 18 years and not a party to this action. My business address
     is Lewis & Llewellyn LLP, 505 Montgomery Street, Suite 1300, San Francisco, CA 94111.
 4   I am familiar with the office practice of Lewis & Llewellyn LLP for collecting and
     processing documents for delivery.
 5
            On the date provided below, in accordance with the office practices of Lewis &
 6   Llewellyn LLP, I served a true copy of the following document(s):

 7                                DEMAND FOR ARBITRATION

 8          The foregoing document(s) were served by the following means:

 9          (By Overnight Mail Delivery) I deposited the document(s) listed above in a
            collection box, or else they were picked up at of the offices of Lewis & Llewellyn
10          LLP, for overnight mail delivery, with delivery fees thereon fully prepaid.

11                 C T Corporation System
                   818 West Seventh Street, Suite 930
12                 Los Angeles, CA 90017

13          (By Electronic Mail) I emailed courtesy copies of the document(s) listed above to
            the electronic mail address(es) shown below.
14
                  Matt Barter                       Jonathan Ye
15                matt.barter@byton.com             jonathan.ye@byton.com

16          (By Hand Delivery) I caused a copy of the document(s) to be hand delivered to the
            address(es) shown below.
17
                   JAMS San Francisco Resolution Center
18                 Two Embarcadero Center
                   Suite 1500
19                 San Francisco, CA 94111
                   Tel: (415) 982-5267
20                 Fax: (415) 982-5287

21          I declare under penalty of perjury under the laws of the State of California the
     foregoing is true and correct. Executed on October 22, 2019 at San Francisco, California.
22

23
                                                                   Charlotte Hayward
24

25

26

27

28

                                          PROOF OF SERVICE
